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07                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
08                                     AT SEATTLE

09 UNITED STATES OF AMERICA,              )            CASE NO.: 05-449M
                                          )
10         Plaintiff,                     )
                                          )
11         v.                             )            DETENTION ORDER
                                          )
12   OCTAVIO SANTOS-MEDINA,               )
                                          )
13         Defendant.                     )
     ____________________________________ )
14

15 Offense charged:

16          Possession with Intent to Distribute Cocaine and Crack Cocaine

17 Date of Detention Hearing:     Initial Appearance September 13, 2005

18          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

19 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

20 that no condition or combination of conditions which defendant can meet will reasonably assure

21 the appearance of defendant as required and the safety of other persons and the community.

22         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

23          (1)    Defendant is charged by Complaint with possession of 500 grams or more of

24 cocaine and 50 grams or more of cocaine base with intent to distribute.

25          (2)    Defendant’s criminal records history includes a VUCSA conviction, conspiracy to

26 distribute heroin and cocaine and prior deportation proceedings. He is currently under the

     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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01 supervision of the United States Probation Office.

02          (3)     Defendant was not interviewed by Pretrial Services. He is a native and citizen of

03 Mexico who is in the United States illegally. He is associated with at least five alias names and

04 two dates of birth.

05          (4)     The defendant does not contest detention.

06          (5)     The defendant poses a risk of nonappearance because of unknown background

07 information and illegal status in this country. He poses a risk of danger due to the instant offense

08 and past criminal history.

09          (6)     There does not appear to be any condition or combination of conditions that will

10 reasonably assure the defendant’s appearance at future Court hearings while addressing the danger

11 to other persons or the community.

12 It is therefore ORDERED:

13          (1)     Defendant shall be detained pending trial and committed to the custody of the

14                  Attorney General for confinement in a correction facility separate, to the extent

15                  practicable, from persons awaiting or serving sentences or being held in custody

16                  pending appeal;

17          (2)     Defendant shall be afforded reasonable opportunity for private consultation with

18                  counsel;

19          (3)     On order of a court of the United States or on request of an attorney for the

20                  Government, the person in charge of the corrections facility in which defendant is

21                  confined shall deliver the defendant to a United States Marshal for the purpose of

22                  an appearance in connection with a court proceeding; and

23 / / /

24 / / /

25 / / /

26 / / /

     DETENTION ORDER                                                                           15.13
     18 U.S.C. § 3142(i)                                                                    Rev. 1/91
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01         (4)   The clerk shall direct copies of this Order to counsel for the United States, to

02               counsel for the defendant, to the United States Marshal, and to the United States

03               Pretrial Services Officer.

04         DATED this 14th day of September, 2005.

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                                               A
                                               Mary Alice Theiler
                                               United States Magistrate Judge
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     DETENTION ORDER                                                                       15.13
     18 U.S.C. § 3142(i)                                                                Rev. 1/91
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